Case 1:22-cv-09884-LGS Documenté6 Filed 12/07/22 Page 1of1
US DISTRICT COURT : SOUTHERN DISTRICT

Attorney: LEVIN EPSTEIN & ASSOCIATES PG
Address: 60 EAST 42ND ST., STE#4700 NEW YORK , NY 40165

 

 

CARMEN REID, ON BEHALF OF HERSELF AND OTHERS SIMILARLY SITUATED IN THE INDEX #: 1:22-CV-09884-LGS

PROPOSED FLSA COLLECTIVE ACTION
Date Filed: 11/21/2022

vs Plaintiff
SC & BP SERVICES, INC., SC & BP1 SERVICES, LLC BP & SC SERVICES INC., AND BRIAN | Client's File No.: reid vs. sc & bp
POWERS services

Defendant

 

 

SECRETARY OF STATE - AFFIDAVIT OF SERVICE

STATE OF NEW YORK, COUNTY OF QUEENS, SS::
Nathaniel Crespo, being duly sworn, deposes and says:

Deponent is over the age of (18) years; deponent is not a party herein; that on 11/28/2022, at 9:20 AM, at the office
of the Secretary of State of the State of New York located at 99 Washington Avenue, Albany, NY 12210, deponent served

the annexed

SUMMONS IN A CIVIL ACTION AND COMPLAINT
on: SC & BP SERVICES, INC., , Defendant in this action
By delivering to and leaving with Nancy Doughtery AUTHORIZED AGENT in the Office of the Secretary of State of the
State of New York, personally at the Office of the Secretary of State of the State of New York, 2 copies thereof and that at
the time of making such service, deponent paid said Secretary of State a fee of $40.00 dollars; that said service was
made pursuant to Section 306 BCL.

The Index No. and the date the action was filed were clearly marked and visible to the defendant. Deponent
further says that deponent knew the person so served as aforesaid to be the agent in the Office of the Secretary of State
of the State of New York, duly authorized to accept such service on behalf of said defendant.

Description of the person served: Sex: Female Color of skin: White Color of hair: Brown Age: 51 - 65 Yrs. Height: 5ft

Qin - 5ff 3in Weight: 100-130 Lbs. Other Features:

Sworn to before me on 12/01/2022

 

NOTARY PUBLIC, State of New York S\ a
No, 01606025621, Qualified In Queens County + —
Term Expires, August 3, 2023 Nathaniel Crespo

    

[a]

Job #: 1521043
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